Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 1 of 37 Page ID #:4878



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  8                         UNITED STATES DISTRICT COURT
  9                        CENTRAL DISTRICT OF CALIFORNIA
 10
 11   NOMADIX, INC.,                    )   Case No. CV 14-08256 DDP (VBKx)
                                        )
 12                    Plaintiff,       )   ORDER RE MOTIONS FOR SUMMARY
                                        )   JUDGMENT
 13        v.                           )
                                        )   [Dkt. Nos. 72, 81, 85, 88]
 14   HOSPITALITY CORE SERVICES         )
      LLC, d/b/a BLUEPRINT RF,          )
 15                                     )
                       Defendant.       )
 16                                     )
      ___________________________       )
 17
 18        Presently before the Court are: (1) Plaintiff Nomadix, Inc.’s
 19   (“Nomadix”) Motion for Summary Judgment on Infringement of the ‘246
 20   Patent; (2) Defendant Hospitality Core Services LLC d/b/a Blueprint
 21   RF’s (“Blueprint”) cross-Motion for Summary Judgment on
 22   Noninfringement of the ‘245 Patent; (3) Defendant Blueprint’s
 23   Motion for Partial Summary Judgment of Patent Invalidity Under 35
 24   U.S.C. § 112 and Double Patenting; and (4) Defendant Blueprint’s
 25   Motion for Partial Summary Judgment of Patent Invalidity Under 35
 26   U.S.C. §§ 102 and 103.     (Dkt. Nos. 72, 85, 81, 88.)       After
 27   considering the parties’ submissions and hearing oral argument, the
 28   Court enters the following Order.
Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 2 of 37 Page ID #:4879



  1   I.      BACKGROUND
  2           This Court has discussed the patents and claims at issue in
  3   this case in its two prior Orders so the recitation will be brief
  4   here.       (See Dkt. Nos. 47, 69.)
  5           Nomadix’s patents at issue here cover the process and
  6   mechanisms of connecting a user device to an internet network
  7   through a gateway device.      The gateway
  8           complete[s] a handshake with the user device and
              redirect[s] the user device’s web browser to a portal page,
  9           all while appearing to be the . . . web server that the
              user’s device sought to access. Once redirected to the
 10           portal page, the user can take steps to obtain network
              access, such as verifying an identity or agreeing to
 11           payment terms.
 12   (Pl. Mot. Summ. J., dkt. no. 72, at 1.)        Nomadix particularly
 13   targets its product and system at the hospitality industry, such as
 14   hotel internet connection and other similar services.
 15           Blueprint is a competitor of Nomadix in the field of
 16   hospitality internet connection.       This suit is based on the alleged
 17   infringement of Nomadix’s patents1 by Blueprint’s “Dominion”
 18   gateway devices that also connect users to internet networks
 19   through a portal page redirect.       (See id.; First Am. Compl.)
 20           Presently disputed in these motions are two main issues: (1)
 21   the infringement or lack thereof of Nomadix’s ‘246 patent by
 22   Blueprint’s Dominion gateway device; and (2) the validity or lack
 23   thereof of several Nomadix patents: ‘246; ‘266; ‘269; ‘806; ‘690.
 24   ///
 25
 26           1
                Nomadix has asserted seven patents in this suit: U.S.
 27   Patent Numbers 6,636,894 (the ‘894 patent); 6,868,399 (the ‘399
      patent); 8,156,246 (the ‘246 patent); 8,266,266 (the ‘266 patent);
 28   8,266,269 (the ‘269 patent); 8,364,806 (the ‘806 patent); and
      8,788,690 (the ‘690 patent).

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 3 of 37 Page ID #:4880



  1   II.   LEGAL STANDARD
  2         Summary judgment is appropriate where the pleadings,
  3   depositions, answers to interrogatories, and admissions on file,
  4   together with the affidavits, if any, show “that there is no
  5   genuine dispute as to any material fact and the movant is entitled
  6   to judgment as a matter of law.”       Fed. R. Civ. P. 56(a).      A party
  7   seeking summary judgment bears the initial burden of informing the
  8   court of the basis for its motion and of identifying those portions
  9   of the pleadings and discovery responses that demonstrate the
 10   absence of a genuine issue of material fact.         See Celotex Corp. v.
 11   Catrett, 477 U.S. 317, 323 (1986).        All reasonable inferences from
 12   the evidence must be drawn in favor of the nonmoving party.           See
 13   Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 242 (1986).           If the
 14   moving party does not bear the burden of proof at trial, it is
 15   entitled to summary judgment if it can demonstrate that “there is
 16   an absence of evidence to support the nonmoving party’s case.”
 17   Celotex, 477 U.S. at 323.
 18         Once the moving party meets its burden, the burden shifts to
 19   the nonmoving party opposing the motion, who must “set forth
 20   specific facts showing that there is a genuine issue for trial.”
 21   Anderson, 477 U.S. at 256.      Summary judgment is warranted if a
 22   party “fails to make a showing sufficient to establish the
 23   existence of an element essential to that party’s case, and on
 24   which that party will bear the burden of proof at trial.”           Celotex,
 25   477 U.S. at 322.    A genuine issue exists if “the evidence is such
 26   that a reasonable jury could return a verdict for the nonmoving
 27   party,” and material facts are those “that might affect the outcome
 28   of the suit under the governing law.”        Anderson, 477 U.S. at 248.

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 4 of 37 Page ID #:4881



  1   There is no genuine issue of fact “[w]here the record taken as a
  2   whole could not lead a rational trier of fact to find for the
  3   nonmoving party.”    Matsushita Elec. Indus. Co. v. Zenith Radio
  4   Corp., 475 U.S. 574, 587 (1986).
  5         It is not the court’s task “to scour the record in search of a
  6   genuine issue of triable fact.”       Keenan v. Allan, 91 F.3d 1275,
  7   1278 (9th Cir. 1996).     Counsel has an obligation to lay out their
  8   support clearly.    Carmen v. San Francisco Sch. Dist., 237 F.3d
  9   1026, 1031 (9th Cir. 2001).      The court “need not examine the entire
 10   file for evidence establishing a genuine issue of fact, where the
 11   evidence is not set forth in the opposition papers with adequate
 12   references so that it could conveniently be found.”          Id.
 13         Summary judgment motions are evaluated under the “substantive
 14   evidentiary standard of proof that would apply at the trial on the
 15   merits” for a particular case.      Anderson, 477 U.S. at 252.          Issued
 16   patents are presumed valid, and the burden is on the party
 17   asserting invalidity to prove such invalidity.         35 U.S.C. § 282(a).
 18   This presumption of invalidity requires clear and convincing
 19   evidence to overcome.     See, e.g., Eli Lilly & Co. v. Barr Labs.,
 20   Inc., 251 F.3d 955, 962 (Fed. Cir. 2001); Apple Computer, Inc. v.
 21   Articulate Sys., Inc., 234 F.3d 14, 20 (Fed. Cir. 2000).           By
 22   contrast, patent infringement, “whether literal or by equivalence,
 23   is an issue of fact, which the patentee must prove by a
 24   preponderance of the evidence.”       Siemens Med. Sols. USA, Inc. v.
 25   Saint-Gobain Ceramics & Plastics, Inc., 637 F.3d 1269, 1279 (Fed.
 26   Cir. 2011).
 27   ///
 28   ///

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 5 of 37 Page ID #:4882



  1   III. DISCUSSION
  2        A.      Cross-Motions for Summary Judgment on Infringement of
                   ‘246 Patent
  3
           Plaintiff Nomadix has moved for summary judgment on
  4
      infringement of its ‘246 patent; Defendant Blueprint has cross-
  5
      moved for summary judgment on noninfringement of the same.
  6
           Nomadix argues that Blueprint’s device literally infringes the
  7
      ‘246 patent based on the undisputed facts of how the device
  8
      functions and on the ordinary meaning of the claim terms in the
  9
      ‘246 patent.      (See Pl. Mot. Summ. J. (“Pl. MSJ”), dkt. no. 72.)
 10
      Nomadix asserts that the motion can and should be decided based on
 11
      claim construction — Nomadix’s position is that the ‘246 patent’s
 12
      claim terms are broad (and valid) under their ordinary meaning and
 13
      that Blueprint’s device reads on those claim terms.          See id.
 14
      Blueprint’s position is that the claim terms are either narrower
 15
      than Nomadix proposes and so the claims do not read on Blueprint’s
 16
      device, or that Nomadix’s broad interpretation of the claims
 17
      renders the claims invalid.      (Def. Opp’n & Cross-MSJ (“Opp’n”),
 18
      dkt. no. 85.)     Thus, both parties agree that this motion is
 19
      essentially a claim construction issue.
 20
                   1.    Legal Standard for Infringement
 21
           Patent infringement suits require the patentee to show that
 22
      the defendant “makes, uses, offers to sell, or sells any patented
 23
      invention, within the United States or imports into the United
 24
      States any patented invention during the term of the patent
 25
      therefor.”    35 U.S.C. § 271(a).     “Victory in an infringement suit
 26
      requires a finding that the patent claim ‘covers the alleged
 27
      infringer’s product or process,’ which in turn necessitates a
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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 6 of 37 Page ID #:4883



  1   determination of ‘what the words in the claim mean.’” Markman v.
  2   Westview Instruments, Inc., 517 U.S. 370, 374 (1996).
  3           “A literal patent infringement analysis involves two steps:
  4   the proper construction of the asserted claim and a determination
  5   as to whether the accused method or product infringes the asserted
  6   claim as properly construed.”      Vitronics Corp. v. Conceptronic,
  7   Inc., 90 F.3d 1576, 1580-81 (Fed. Cir. 1996).         Claim construction
  8   is a matter of law, with the court examining both intrinsic and
  9   extrinsic evidence of meaning, with the court first examining the
 10   intrinsic evidence as it “is the most significant source of the
 11   legally operative meaning of disputed claim language.”          Id. at
 12   1582.    Intrinsic evidence includes “the patent itself, including
 13   the claims, the specification, and, if in evidence, the prosecution
 14   history.”    Id.    Extrinsic evidence, or evidence outside this set of
 15   reference, is only examined if the intrinsic evidence is
 16   insufficient to determine the meaning and scope of the claims.               Id.
 17   at 1583.
 18           This analysis “holds true whether it is the patentee or the
 19   alleged infringer who seeks to alter the scope of the claims.”               Id.
 20   Claims are construed the same way for both validity and
 21   infringement.      See W.L. Gore & Assocs., Inc. v. Garlock, Inc., 842
 22   F.2d 1275, 1279 (Fed. Cir. 1988), abrogated on other grounds Zoltek
 23   Corp. v. United States, 672 F.3d 1309 (Fed Cir. 2012).
 24                2.    Claim Construction
 25           Both parties agree that this cross-motion turns on claim
 26   construction.      (See Pl. MSJ at 11; Opp’n at 13.)
 27           According to Nomadix, the undisputed facts demonstrate that
 28   the Dominion gateway device “satisfies every limitation of claims 6

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 7 of 37 Page ID #:4884



  1   and 7 of the ‘246 patent.”      (Pl. MSJ at 11.)     Blueprint’s theory of
  2   noninfringement, according to Nomadix, is based on interpreting
  3   terms from claim 6 narrowly.      (Id.)    According to Nomadix, “[i]t is
  4   undisputed that, if the claims are not limited in the way Blueprint
  5   proposes, then the Dominion gateway satisfies all the claim
  6   limitations.”    (Id.)
  7         This appears consistent with how Blueprint characterizes its
  8   position.    (Opp’n at 13.)    Blueprint argues that its device only
  9   infringes if Nomadix’s broad claim construction is accepted, but if
 10   such a broad claim construction is accepted, then the ‘246 patent
 11   is invalid for lack of adequate written description, obviousness,
 12   and anticipation, as described in Blueprint’s other motions.           (Id.
 13   at 14-15.)   According to Blueprint, under its narrow construction
 14   of the claim terms, Nomadix’s patents are valid but Blueprint’s
 15   Dominion device does not infringe.        (Id. at 15-16.)
 16         The parties make several claim construction arguments, running
 17   from claim indefiniteness to the meaning of preamble language to
 18   means-plus-function claims to the doctrine of equivalents and so
 19   on.   (See Pl. MSJ at 15-16; Opp’n at 16-21, 23-25; Pl. Opp’n at 9-
 20   12, 16-20; Pl. Reply at 18-23; Def. Reply at 8-15.)          The Court
 21   notes that the parties have in one sense raised all doctrines
 22   related to claim construction, which is rarely conducive to an
 23   efficient analysis.      But what is clear from the parties’ papers is
 24   that the nub of the dispute is two claim terms from claim 6 of the
 25   ‘246 patent, which the parties appear to agree controls whether
 26   Blueprint infringes: “redirection server” and “processor.”           (See,
 27   e.g., Pl. MSJ at 20-22 (Plaintiff’s motion also discusses two other
 28   terms that are not discussed by Blueprint in its papers); Opp’n at

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 8 of 37 Page ID #:4885



  1   18; Pl. Opp’n at 1; Pl. Reply at 5-6; Def. Reply at 3.)           Thus, the
  2   Court will examine only these two terms under the standard claim
  3   construction analysis from Markman and determine infringement on
  4   that basis.
  5        Claim 6 of the ‘246 patent reads, with the terms at issue
  6   emphasized:
  7        6. A network management system, configured to redirect a
           computer to a portal page, the computer being connected to
  8        the network management system by a network, the system
           comprising:
  9             a communications port configured to receive an
           incoming request from the computer relating to accessing an
 10        external server; and
                a processor configured to receive incoming data from
 11        a redirection server, the incoming data identifying a
           portal page server to which the computer should be
 12        redirected, the portal page server being different from the
           external server; and
 13             the processor further configured to send to the
           computer, an outgoing response based on the incoming data,
 14        the outgoing response configured to be responsive to the
           incoming request from the computer, and the outgoing
 15        response configured to cause the computer to initiate a
           second request for content from the portal page server;
 16             wherein the processor is further configured to
           complete a connection handshake while appearing to be the
 17        external server, and wherein the outgoing response includes
           a source address corresponding to the external server,
 18        whereby the outgoing response appears to have originated
           from the external server.
 19
 20                3.   Processor
 21        Blueprint interprets “processor” as a “network gateway
 22   processor or system that routes messages to the redirection server
 23   through stack address translation using packet address modification
 24   and connects a user’s computer to the network without reconfiguring
 25   the network settings or installing the network settings or
 26   installing reconfiguration software on the user’s computers,” and
 27   which “excludes DHCP reconfiguration of network settings on user’s
 28   computer.”    (Opp’n at 14 (table).)

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 9 of 37 Page ID #:4886



  1        Nomadix argues that the claim term “processor” does not
  2   require claim construction.      (Pl. Opp’n at 3; Pl. Reply at 6
  3   (tables).)   To the extent this Court does construe the term,
  4   Nomadix argues that “processor” should be given its ordinary
  5   meaning, which does not require formal claim construction in part
  6   because Blueprint “has admitted that each Dominion gateway includes
  7   a processor.”    (Pl. Reply at 6 (citing Lezama Decl. Ex. 3 (RFA
  8   18)).)
  9        The Court notes that under Markman, the Court determines claim
 10   meaning primarily based on claim language, prosecution history, and
 11   the specification.    But here, there is no reason for a formal claim
 12   construction of the term “processor” because it is a well-known
 13   term in the relevant art.      Blueprint’s argument attempts to add
 14   language to the claim term rather than construct it.          Blueprint’s
 15   definition ensures its device is excluded from possible
 16   infringement, but the construction is not based on the claim
 17   language or specification.      Nowhere does the specification or claim
 18   provide that DHCP is excluded, and there are instances in the
 19   patent that discuss the invention with DHCP.         (See, e.g., ‘246
 20   Patent Fig. 50B.)    Blueprint’s approach is not a claim construction
 21   based on intrinsic evidence; instead, it is an argument to limit
 22   the claim language to exclude DHCP reconfiguration.
 23        Further, Blueprint’s discovery response in Exhibit 3 to the
 24   Lezama declaration states that the Dominion device has a processor,
 25   showing that the term has an ordinarily understood meaning and that
 26   the Dominion device is consistent with that meaning.          As there is
 27   no reason to depart from this ordinary meaning, the Court declines
 28   to make a formal construction of “processor” at this time.

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 10 of 37 Page ID #:4887



   1             4.      Redirection Server
   2         According to Blueprint, “redirection server” means “server
   3   that creates a browser redirect message through stack address
   4   translation using packet address modification,” which would
   5   “exclude[] the local or forced proxy disclosed by Slemmer.”           (Opp’n
   6   at 14 (table).)
   7        Nomadix argues that “redirection server” means “a server that
   8   prepares a message instructing a computer receiving the message to
   9   redirect its browser to content differing from what was initially
 10    requested.”    (Pl. Opp’n at 3; Pl. Reply at 6 (tables).)
 11         Essentially, this claim construction dispute centers on
 12    “redirection” — Nomadix’s argument is that “redirection” covers
 13    redirection through stack address translation using packet address
 14    modification as well as through other means, and Blueprint’s
 15    argument is that “redirection” only covers redirection through
 16    stack address translation using packet address modification.
 17         As Nomadix points out, there is no language in the claim that
 18    limits redirection to redirection through stack address translation
 19    using packet address modification.       But Blueprint argues that
 20    Nomadix’s plain language approach is unsupported by the
 21    specification and disclosures of the patent.        An infringement
 22    motion is not the place for an argument regarding patent invalidity
 23    based on lack of enablement or adequate written description, which
 24    Blueprint falls into several times in its briefing.         But the
 25    Markman analysis does require the Court to examine the
 26    specification and prosecution history as well as the plain language
 27    of the claims in constructing the claim language.         Thus, simply
 28    looking at the language of the claim is not enough here.

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 11 of 37 Page ID #:4888



   1        The specification does not appear to limit the claims,
   2   however, to stack address translation using packet address
   3   modification.     Blueprint is not convincing in arguing that the
   4   absence of a clear embodiment of redirection involving more than
   5   stack address translation is required to affirmatively include
   6   other embodiments in the claims, particularly if such other methods
   7   would be known to a person having ordinary skill in the art.           The
   8   language of the patent notes that “one embodiment” would be limited
   9   to stack address translation, but that does not mean that this is
 10    the only embodiment, and in fact it implies that other embodiments
 11    of the invention would not be so limited.        Further, Nomadix points
 12    to other embodiments discussed in the patent that do not mention
 13    stack address translation at all and that accomplish the
 14    redirection claim limitation.      (See Pl. Reply at 13 (citing ‘246
 15    patent col. 36 l. 5-29).)     Therefore, the Court declines to limit
 16    the claim to only stack address translation using packet address
 17    modification because such a limit is unsupported by the plain
 18    language and specification of the patent.
 19                 5.   Means-Plus-Function Claims
 20         Blueprint argues that claims 6 and 7 of the ‘246 patent are
 21    means-plus-function claims, which means the claims must be
 22    functionally defined as limited by the patent’s particularly
 23    disclosed embodiments as set forth in 35 U.S.C. § 112 ¶ 6.          (Opp’n
 24    at 18-21.)    Blueprint alleges that the claim terms at issue,
 25    “processor” and “redirection server,” are “generic computer terms
 26    or ‘nonce words’ understood as ‘verbal constructs not recognized
 27    structure’ tantamount to using the word ‘means’ invoking § 112,
 28    par. 6 under the Williamson standard.”       (Id. at 19 (quoting Mass.

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 12 of 37 Page ID #:4889



   1   Inst. of Tech. & Elecs. for Imaging, Inc. v. Abacus Software, 462
   2   F.3d 1344, 1354 (Fed. Cir. 2006).)       According to Blueprint, the
   3   redirection server in claim 6 that performs packet translation or
   4   redirection is limited to stack address translation using packet
   5   address modification because that is the “only packet redirection
   6   technique described” in the patent and shown in figures 11A and
   7   11B.   (Opp’n at 20.)   As Blueprint’s Reply details, the claim
   8   language defines “redirection server” at such a high level of
   9   structural and functional detail that “a person of ordinary skill
 10    in the art would have no way of knowing from the claim language the
 11    basis on which the ‘redirection server’ generates the ‘incoming
 12    data identifying a portal page server to which the computer should
 13    be redirected.’” (Reply at 11 (quoting ‘246 patent, claim 6).)
 14           Nomadix denies that § 112 ¶ 6 applies to the terms “processor”
 15    and “redirection server” in claim 6, explaining that the terms “are
 16    not mere verbal constructs” and instead “are commonly used terms in
 17    the computer and networking fields referring to well-understood
 18    computing structures.”     (Pl. Opp’n at 11-12.)     Further, Nomadix
 19    points out that Blueprint uses the terms “processor” and “server”
 20    in its proposed claim construction of those very terms, thus
 21    indicating, according to Nomadix, that the terms “convey well-
 22    understood, meaningful structure that does not require further
 23    elaboration in this case.”     (Id. at 12.)     Lastly, Nomadix argues
 24    that Blueprint’s constructions “are not designed to address any
 25    means-plus-function issues but rather to import limitations into
 26    the claims under the pretense of claim interpretation.”          (Id.)
 27           In Williamson, the Federal Circuit stated the standard for
 28    determining if particular claim language falls into § 112 ¶ 6 as

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 13 of 37 Page ID #:4890



   1   “whether the words of the claim are understood by persons of
   2   ordinary skill in the art to have a sufficiently definite meaning
   3   as the name for structure.”     Williamson v. Citrix Online, LLC, 792
   4   F.3d 1339, 1349 (Fed. Cir. 2015) (citing Greenberg v. Ethicon Endo-
   5   Surgery, Inc., 91 F.3d 1580, 1583 (Fed Cir. 1996)).         While there is
   6   a presumption that a claim without the term “means” is not a claim
   7   that falls into § 112 ¶ 6, that presumption can be overcome with a
   8   showing that the claim terms “fail[] to ‘recite sufficiently
   9   definite structure’ or else recite[] ‘function without reciting
 10    sufficient structure for performing that function.’” Id. (quoting
 11    Watts v. XL Sys., Inc., 232 F.3d 877, 880 (Fed. Cir. 2000)).
 12    “Nonce” claim terms are those terms that act as fillers because
 13    they do not describe an actual structure:
 14         Generic terms such as “mechanism,” “element,” “device,” and
            other nonce words that reflect nothing more than verbal
 15         constructs may be used in a claim in a manner that is
            tantamount to using the word “means” because they
 16         “typically do not connote sufficiently definite structure”
            and therefore may invoke § 112, para. 6.
 17
       Id. at 1350 (citing Abacus Software, 462 F.3d at 1354).
 18
            In Williamson, the claim term “distributed learning control
 19
       module for receiving communications transmitted between the
 20
       presenter and the audience member computer systems and for relaying
 21
       the communications to an intended receiving computer system and for
 22
       coordinating the operation of the streaming data module” was held
 23
       to be a means-plus-function claim term.       Id.   The Federal Circuit
 24
       noted that the claim’s format was “consistent with traditional
 25
       means-plus-function claim limitations” in that it “replaces the
 26
       term ‘means’ with the term ‘module’ and recites three functions
 27
       performed by the ‘distributed learning control module.’”          Id.   The
 28

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 14 of 37 Page ID #:4891



   1   court held that “module” was a “well-known nonce word” that “does
   2   not provide any indication of structure because it sets forth the
   3   same black box recitation of structure for providing the same
   4   specified function as if the term ‘means’ had been used.”          Id.
   5           Further, the prefix “distributed learning control” did not
   6   provide structure because the written description of the patent
   7   described the terms at too high a level and “the claim does not
   8   describe how the ‘distributed learning control module’ interacts
   9   with other components in the distributed learning control server in
 10    a way that might inform the structural character of the limitation-
 11    in-question or otherwise impart structure.”        Id.   The court lastly
 12    found unavailing the testimony of an expert who claimed to be able
 13    to perform the claim limitations by reading the claim and the
 14    specification of the patent because “the fact that one of skill in
 15    the art could program a computer to perform the recited functions
 16    cannot create structure where none otherwise is disclosed.”           Id.
 17            “A limitation has sufficient structure when it recites a claim
 18    term with a structural definition that is either provided in the
 19    specification or generally known in the art.”        Apple Inc. v.
 20    Motorola, Inc., 757 F.3d 1286, 1299 (Fed. Cir. 2014), overruled on
 21    other grounds by Williamson, 792 F.3d 1339.        As the Federal Circuit
 22    has noted, “looking for traditional ‘physical structure’ in a
 23    computer software claim is fruitless because software does not
 24    contain physical structures,” and instead, the structure “is
 25    understood through, for example, an outline of an algorithm, a
 26    flowchart, or a specific set of instructions or rules.”          Id. at
 27    1298.    Further, a claim term can denote structure “by describing
 28    the claim limitation’s operation, such as its input, output, or

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 15 of 37 Page ID #:4892



   1   connections,” which means “how the function is achieved in the
   2   context of the invention.”     Id.   The Court notes that the claim
   3   term “analyzer server” was not discussed by the Federal Circuit
   4   argued by either party in the Apple case as being a means-plus-
   5   function claim term.    See id. at 1304 (providing claim construction
   6   of the term “an analyzer server for detecting structures in the
   7   data, and for linking actions to the detected structures”; the
   8   claim term “processor” was similarly not disputed).
   9        Here, the claim term “processor” is a structural term that
 10    cannot be reasonably disputed by Blueprint to be a “verbal
 11    construct[] not recognized [as] structure.”        (Opp’n at 18-19.)     The
 12    processor in claim 6 has many configurations, but those
 13    configurations are what provide both operation and function to the
 14    term “processor.”    A closer question is the term “redirection
 15    server.”   The claim language surrounding the term is:
 16         a processor configured to receive incoming data from a
            redirection server, the incoming data identifying a portal
 17         page server to which the computer should be redirected, the
            portal page server being different from the external server
 18
       The “redirection server” sends data to the processor that results
 19
       in the user computer’s browser being redirected to the portal page
 20
       server, which eventually results in the connection handshake with
 21
       the network management system rather than the external server that
 22
       the user computer was originally attempting to access.          A “server”
 23
       is also a well-known structural term.       It is included in
 24
       Blueprint’s own proposed construction of “redirection server.”
 25
       Redirection of the data packets can be accomplished through
 26
       different means, as Blueprint’s noninfringement arguments have
 27
 28

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 16 of 37 Page ID #:4893



   1   attempted to show, but that does not mean that the claim term lacks
   2   sufficient structure.
   3        Turning to the specification of the ‘246 patent, it provides
   4   embodiments of the invention that include descriptions of packet
   5   redirection and browser redirection, thus cutting against a finding
   6   that the claim is a means-plus-function claim.         For example, figure
   7   50B provides a flowchart that includes connection instructions for
   8   both DHCP users and non-DHCP users, as well as a simple instruction
   9   to “perform any needed translation or redirection” before
 10    processing the packet.     (‘246 Patent Fig. 50B.)      As the written
 11    description clarifies, “[o]ne embodiment for performing the step of
 12    providing any needed translation or redirection, as specified in
 13    Fig. 50, is described in steps 5, 6, and 7 of Fig. 11A.”          (‘246
 14    Patent col. 112 l. 12-14.)     Looking at Figure 11A, no stack address
 15    translation or packet modification is mentioned, much less
 16    required, in order to achieve the flowchart’s result of
 17    redirection.   (‘246 Patent Fig. 11A.)
 18         The patent’s specification further provides for redirection
 19    through browser redirection:
 20         Redirecting the user to a login page can include
            redirecting a browser located on the user’s computer to the
 21         login page. Furthermore, redirecting the browser located
            on the user’s computer can include receiving a Hyper-Text
 22         Transfer Protocol (HTTP) request for the destination
            address and responding with an HTTP response corresponding
 23         to the login page.
 24    (‘246 Patent col. 11 l.15-21.)      Another embodiment of the invention
 25    discloses using an Authentication, Authorization and Accounting
 26    (“AAA”) server to perform the needed redirection.         (‘246 Patent
 27    col. 11 l. 35-40.)    Stack address translation is mentioned as
 28    another embodiment for redirection:

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 17 of 37 Page ID #:4894



   1        [T]he user can be redirected from the portal page via Home
            Page Redirect (HPR) and Stack Address Translation (SAT) to
   2        a location, such as a login page, established to validate
            new users. SAT and HPR can intervene to direct the user to
   3        a webserver (external or internal) where the user has to
            login and identify themselves.
   4
       (‘246 Patent col. 23 l. 19-25 (referencing the “Redirection
   5
       Application,” which is Nomadix’s ‘894 patent).)         At another point,
   6
       the specification notes that “the nomadic router is able to
   7
       redirect all outbound packets from the host computer to itself” and
   8
       that “redirection can be accomplished in several ways,” describing
   9
       redirection through: (1) “Proxy ARP Packet Interception and Host
 10
       Reconfiguration,” (2) “Promiscuous Mode Packet Interception,” and
 11
       (3) “Dynamic Host Configuration Protocol (DHCP) Service.”          (‘246
 12
       Patent col. 30 l. 59-67; col. 31 l. 1-44.)
 13
            As a last example of the redirection discussion in the
 14
       patent’s detailed description, the specification states that,
 15
            According to one aspect of the present invention, when a
 16         user initially attempts to access a destination location,
            the gateway device, AAA server or portal page redirect unit
 17         receives this request and routes the traffic to a protocol
            stack on a temporary server, which can be local to the
 18         gateway device.
 19    (‘246 Patent col. 36, l. 5-10.)      Each of the three different
 20    redirection servers can have a different method of redirection.
 21    The gateway device uses Home Page Redirect, which uses stack
 22    address translation that “is accomplished by redirecting the user
 23    to a protocol stack using network and port address translation to
 24    the portal server than can be internal to the computer network or
 25    gateway device.”    (‘246 Patent col. 35 l. 52-62.)       The HPR and SAT
 26    method is just one embodiment provided by the specification in the
 27    patent.   At another part of the specification, the AAA server is
 28

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 18 of 37 Page ID #:4895



   1   described as able to use either SAT or dynamic address translation
   2   (DAT) to redirect.    (‘246 Patent col. 48 l. 20-27.)
   3        In all, the specification makes clear that the claim term
   4   “redirection server” can include several embodiments.          A “server”
   5   is clearly structural and together, “redirection server” has
   6   operational meaning based on the specification.         Thus, the Court
   7   holds that claim 6 is not a means-plus-function claim.
   8              6.   Infringement
   9        Taking as true Blueprint’s admission that its Dominion device
 10    has a processor, and taking that term to mean the same thing as in
 11    the ‘246 patent claims as discussed above, the only question for
 12    infringement according to the parties’ papers is whether
 13    Blueprint’s device also performs redirection as defined in the
 14    patent’s claims.
 15         The Dominion gateway performs redirection through its IPFW FWD
 16    command, which adds a “forwarding tag” to the user’s data packets
 17    in order redirect the packets.      (See Def. Reply at 15-22.)      Under
 18    the Court’s construction of the claim term “redirection,” the IPFW
 19    FWD command redirects the packets just as in claim 6 of the ‘246
 20    patent.   IPFW FWD command redirection does modify the packet,
 21    albeit differently than packet address modification within the
 22    user’s packet, as Blueprint alleges Nomadix does.         Blueprint’s
 23    method modifies the address packet because the IPFW FWD command
 24    adds a forwarding tag, thus modifying the packet by adding that
 25    forwarding tag to the packet.      This method is an equivalent to what
 26    Blueprint alleges Nomadix’s invention does.
 27         In fact, as Nomadix argues, Blueprint’s method of redirection
 28    would result in infringement regardless of the Court’s means-plus-

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 19 of 37 Page ID #:4896



   1   function analysis because literal infringement also includes
   2   equivalents under § 112 ¶ 6.      (Pl. Opp’n at 16.)     As the statute
   3   states, means-plus-function claims cover “the corresponding
   4   structure, material, or acts described in the specification and
   5   equivalents thereof.”    35 U.S.C. § 112.     The IPFW FWD command is an
   6   equivalent to what Blueprint proposes this Court interpret
   7   “redirection server” to mean, namely, “server that creates a
   8   browser redirect message through stack address translation using
   9   packet address modification.”      (Opp’n at 14.)    Under any theory of
 10    literal patent infringement, the IPFW FWD command is an equivalent
 11    to Nomadix’s method of packet address modification.         Therefore, the
 12    Court finds that under the above claim construction, Blueprint’s
 13    Dominion device infringes the ‘246 patent.
 14         B.   Motion for Summary Judgment on Patent Invalidity under 35
                 U.S.C. § 112 and Double Patenting
 15
            Blueprint has also filed for partial summary judgment, arguing
 16
       that patents ‘246, ‘266, ‘269, ‘806, and ‘690 are invalid under 35
 17
       U.S.C. § 112 and under a double patenting theory.         (See Def. Mot.
 18
       Summ. J. of Patent Invalidity under 35 [U.S.C.] § 112 and Double
 19
       Patenting (“MSJ for 112”), dkt. no. 81 at 1.)        Blueprint only cites
 20
       to the ‘246 patent throughout its motion, explaining that “the
 21
       specifications of the ‘246, ‘269, ‘806, and ‘690 patents are nearly
 22
       identical” so that the citations to ‘246 are “representative.”2
 23
       (Id. at 1 n.1.)   Blueprint’s theory is (1) if the patents are read
 24
       as broadly as Nomadix seems to say they should be, then the patents
 25
       are invalid because the claims are not supported by the patents’
 26
 27         2
                 Presumably, Blueprint also wants to include the ‘266
 28    patent in this list, because Blueprint otherwise does not discuss
       the ‘266 patent at all other than to argue for its invalidity.

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 20 of 37 Page ID #:4897



   1   written description; (2) that the patents fail a “concise
   2   requirement” from Section 112; (3) that the patents’ specifications
   3   do not enable a person having ordinary skill in the art to practice
   4   the claimed invention; and (4) that the patents all cover the same
   5   invention, so they fail for double patenting.
   6        In response, Nomadix argues primarily that Blueprint has
   7   failed to meet the standard required at summary judgment for
   8   invalidating a patent under Section 112.        (Pl. Opp’n to Def. MSJ
   9   for 112 (“Opp’n 112”) at 2-4.)      Nomadix claims that Blueprint
 10    “rests its entire motion on conclusory attorney argument,” lacks
 11    evidence to support its broad motion (“108 claims spanning five
 12    patents”), and “does not identify a single claim by number until
 13    page 24 of its opening brief,” which is the only place where
 14    Blueprint addresses claim language.       (Id. at 2-3.)    On the merits,
 15    Nomadix argues that (1) there is no patent invalidity argument
 16    based on concision; (2) Blueprint’s written description argument is
 17    unsupported by evidence, what evidence is present is disputed, and
 18    Blueprint has applied the wrong legal standard; (3) Blueprint fails
 19    to make an argument about enablement, much less provide evidence;
 20    and (4) Blueprint fails to demonstrate that any two claims from the
 21    patents at issue have “identical scope” so as to double patent, or
 22    that any of the claims render another patent obvious in spite of
 23    Nomadix’s terminal disclaimers.      (Id. at 4-6 (concise), 10-20
 24    (written description), 20-21 (enablement), 21-30 (double
 25    patenting).)
 26         In its reply, Blueprint argues (1) there is a concision
 27    requirement in the Patent Act and the patents involved here are
 28    overly verbose in an attempt to confuse courts and future

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 21 of 37 Page ID #:4898



   1   defendants; (2) the written descriptions of the patents at issue do
   2   not disclose or teach an invention that would make Blueprint’s
   3   Dominion device infringing; (3) “the written description and
   4   enablement inquiries are similar” in this case and the
   5   specifications in these patents fail to enable the invention as
   6   claimed by Nomadix; and (4) there is double patenting here because
   7   by Nomadix’s own construction, the claims of the challenged patents
   8   would literally infringe each other.       (Def. Reply ISO MSJ for 112
   9   (“Reply 112”) at 2-9 (concise), 9-15 (written description), 16-19
 10    (enablement), 19-20 (double patenting).)
 11              1.    Concision
 12         It is basic hornbook law that Section 112 contains three
 13    requirements for an inventor seeking a patent: (1) written
 14    description; (2) enablement; and (3) best mode.         See 3 Donald S.
 15    Chisum, Chisum on Patents § 7.01 (Matthew Bender 2014); see also
 16    Univ. of Rochester v. G.D. Searle & Co., Inc., 358 F.3d 916, 921
 17    (Fed. Cir. 2004) (describing the three requirements of Section 112
 18    of the 1952 Patent Act).     The word “concise” is included in the
 19    statutory section as part of the second requirement of enablement:
 20         (1) the specification shall contain a written description
            of the invention; (2) the specification shall contain a
 21         written description . . . of the manner and process of
            making and using it [i.e., the invention] in such full,
 22         clear, concise, and exact terms as to enable any person
            skilled in the art to which it pertains, or with which it
 23         is most nearly connected, to make and use the same; and (3)
            the specification . . . shall set forth the best mode
 24         contemplated by the inventor of carrying out his invention.
 25    Univ. of Rochester, 358 F.3d at 921 (quoting 35 U.S.C. § 112)
 26    (internal quotations and brackets omitted) (emphasis added).
 27         Blueprint would have a fourth requirement be made out of the
 28    inclusion of the word “concise” in the statute.         However, Blueprint

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 22 of 37 Page ID #:4899



   1   acknowledges that there are no controlling cases — or any cases —
   2   finding this “concise” language in the statute to be a formal
   3   requirement, much less a requirement that can lead to the
   4   invalidation of a patent.     Therefore, this Court declines the
   5   opportunity to create an additional requirement in Section 112.
   6             2.    Written Description
   7        As explained above, Section 112 does have a written
   8   description requirement.     See 35 U.S.C. § 112.      This requires the
   9   patentee to “convey with reasonable clarity to those skilled in the
 10    art that, as of the filing date sought, he or she was in possession
 11    of the invention.    The invention is, for purposes of the ‘written
 12    description’ inquiry, whatever is now claimed.”         Vas-Cath Inc. v.
 13    Mahurkar, 935 F.2d 1555, 1563-64 (Fed. Cir. 1991).         “The test for
 14    sufficiency of support in a patent application is whether the
 15    disclosure of the application relied upon reasonably conveys to the
 16    artisan that the inventor had possession at that time of the later
 17    claimed subject matter.”     Id. at 1563 (internal quotation omitted).
 18    Compliance with this requirement is a question of fact.          Id.   This
 19    requirement is a separate and broader requirement than the
 20    enablement requirement.     Id.
 21         Blueprint here acknowledges that “[t]o some extent, compliance
 22    with the written description requirement may come down to a matter
 23    of claim construction.”     (MSJ for 112 at 21.)     This is a bit of an
 24    understatement — the very legal standard discussed by all parties
 25    and this Court above establish that the written description
 26    analysis requires claim construction because the relevant question
 27    is whether the description demonstrates possession of the
 28    invention, the invention being what is claimed.

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 23 of 37 Page ID #:4900



   1          To that end, Blueprint provided in Exhibit 14 a chart with
   2   competing claim constructions for certain words in certain patents.
   3   This kind of analysis is insufficient to meet a clear and
   4   convincing standard.    Actual quoted language, taken in full context
   5   of each of the challenged claims, is what needs to be analyzed;
   6   that is, the Court can only consider whether the written
   7   description requirement is met for a particular claim after
   8   considering the actual claim language, what that language means
   9   (its scope and limit), and what the description in the patent
 10    provides.
 11           The most complete analysis that Blueprint provides regards
 12    only the ‘246 patent, which is provided as marked up by Blueprint
 13    in Exhibit 3.    (MSJ for 112 at 22-23; Ex. 3.)      Blueprint argues
 14    that
 15           [u]nder the broad claim construction that form[s] the basis
              of Nomadix’s infringement contentions, the claims of the
 16           challenged patents are not limited to captive portal
              redirection utilizing packet address modification. They
 17           therefore fail to comply with the written description
              requirement because the claims cover subject matter that is
 18           not described in the specification.
 19    (Id. at 22.)    Also, the broad construction of the claims, Blueprint
 20    argues, is not supported by the statements in the specification
 21    regarding what Nomadix considered its invention or improvement on
 22    the prior art, which is not changing the IP settings on the user’s
 23    computer through the captive portal redirection feature.          (Id.)
 24           Lastly, Blueprint argues that the broad view of the claims
 25    would cover subject matter that the patent is teaching away from:
 26           Specifically, the challenged patents teach away from
              relying exclusively [o]n DHCP to reconfigure the network
 27           setting on a user’s computer with DHCP, and describe
              transparent address translation as a better alternative
 28           allowing computers that do not utilize DHCP to be connected

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 24 of 37 Page ID #:4901



   1         to the network. . . . While this teaching is buried in the
             back of the ‘246 patent, it is upfront and the center of
   2         the description of the invention in the priority
             application.
   3
   4   Id. at 22-23 (citing “‘246 at 111/48-112-17; Figs. 50A-B” and “App.
   5   Ser. No. 60-111,497 at pp.1-3,5 and Fig. 1 (Ex-2)”.)
   6         Nomadix takes issue with Blueprint’s Exhibit 14 and
   7   characterization of Nomadix’s claim construction.         (Opp’n 112 at 7-
   8   9.)   As Nomadix points out, most of the patents’ claim language is
   9   ignored, and all 108 claims of the patents that Blueprint appears
 10    to be challenging in its motion are not included in the chart, or
 11    anywhere in the moving papers.      The Court agrees that such an
 12    omission gives rise to triable issues of fact.
 13          To the part of Blueprint’s argument that is included in the
 14    moving papers, Nomadix responds that Blueprint is erroneously
 15    arguing that the Patent Act requires “‘literal’ description of
 16    every embodiment of the claimed invention” to be included in the
 17    written description.    (Id. at 10.)     This appears to be true,
 18    although Blueprint could be making a different argument — it is not
 19    entirely clear from the papers.      It appears that Blueprint is
 20    arguing that Nomadix is now claiming embodiments including DHCP
 21    connection and redirection without static address translation using
 22    packet address modification, neither of which Nomadix included in
 23    its written description.
 24          But Nomadix’s Opposition explains that DHCP would be
 25    understood by a person having ordinary skill in the art as being
 26    included in the scope of the claimed invention.         (Id. at 12-14.)
 27    DHCP is also in the ‘246 patent’s specification.         (See, e.g., ‘246
 28    Patent Fig. 50B.)    In addition, Nomadix points to an embodiment in

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 25 of 37 Page ID #:4902



   1   the ‘246 patent that, “immediately after discussing embodiments
   2   involving stack address translation,” does not mention stack
   3   address translation but which does include the browser redirection
   4   at issue.   (Id. at 13.)      Nomadix’s expert claims that “the
   5   juxtaposition of these teachings reasonably conveys to one of
   6   ordinary skill in the art that stack address translation is not
   7   required in the latter embodiment.”       (Id.)    And as discussed
   8   earlier in the Court’s claim construction for the ‘246 patent,
   9   there are many discussions of redirection in the ‘246 patent’s
 10    specification that do not require stack address translation using
 11    packet address modification.      All of these instances raise triable
 12    issues of fact as to Nomadix having possession of the claimed
 13    invention, with that invention being as broad as Nomadix claims it
 14    is.
 15          Based upon the state of the factual record, and the clear
 16    material factual disputes between the parties, the Court cannot
 17    find for Blueprint on the written description theory of invalidity
 18    because Blueprint has not met the clear and convincing standard of
 19    proof.
 20                3.   Enablement
 21          Blueprint’s enablement argument is found at lines eight
 22    through sixteen on page twenty-three of its opening brief.          (Def.
 23    MSJ for 112 at 23.)    Blueprint acknowledges that enablement and
 24    written description are separate requirements of 35 U.S.C. § 112,
 25    but says that “the legal analysis in this case is virtually the
 26    same because the challenged patents fail to describe or enable any
 27    type of packet redirection that does not utilize packet address
 28    modification.”   (Def. MSJ for 112 at 23.)        This is the extent of

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 26 of 37 Page ID #:4903



   1   Blueprint’s argument; none of the new arguments or evidence
   2   included in Blueprint’s reply brief can be considered by this Court
   3   because such argument and evidence must be raised in the moving
   4   papers to allow the opposing party an opportunity to dispute them.
   5        “Enablement ‘is a legal determination of whether a patent
   6   enables one skilled in the art to make and use the claimed
   7   invention.’”   Streck, Inc. V. Research & Diagnostic Sys., Inc., 665
   8   F.3d 1269, 1288 (Fed. Cir. 2012) (quoting Hybritech, Inc. V.
   9   Monoclonal Antibodies, Inc., 802 F.2d 1367, 1384 (Fed. Cir. 1986)).
 10    “The enablement requirement is met where one skilled in the art,
 11    having read the specification, could practice the invention without
 12    ‘undue experimentation.’”      Id. (quoting In re Wands, 858 F.2d 731,
 13    736-37 (Fed. Cir. 1988).     The specification “need not disclose what
 14    is well-known in the art.”     Id.   Enablement is a matter of law, but
 15    one with “factual underpinnings,” particularly in terms of the
 16    Wands factors for determining whether undue experimentation is
 17    needed to practice the invention.         Id.   “Because patents are
 18    presumed valid, lack of enablement must be shown by clear and
 19    convincing evidence.”    Id.
 20         Here, there is a lack of clear and convincing evidence.
 21    Because Blueprint’s enablement argument is not developed or
 22    supported by evidence tailored and applied to the proper legal
 23    standard — which is not the same as the standard for written
 24    description — this Court cannot find for Blueprint on its motion
 25    for summary judgment based on an alleged lack of enablement.
 26              4.    Double Patenting
 27         Blueprint’s argument for double patenting is that certain
 28    claims in four of the challenged patents “are invalid for statutory

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 27 of 37 Page ID #:4904



   1   double patenting.”    (Def. MSJ for 112 at 23.)      These claims are:
   2   for the ‘246 patent, claims 6, 7, 9, 10, 12-17; for the ‘266
   3   patent, claims 1, 2, 5-7, 9, 11, 14, 15, 17-20, 22; for the ‘269
   4   patent, claims 1, 4, 5, 8, 17, 20; and for the ‘806 patent, claims
   5   1, 2, 4, 5, 17, 19.    (Id. at 24.)       Blueprint argues that its
   6   Exhibit 16 demonstrates that “other than different labels applied
   7   to the same elements, the claims have the same scope.”          (Id.)
   8   Further, Blueprint points out that “Nomadix is asserting that all
   9   of the claims cover the same aspect of the accused product —
 10    redirection to a portal page — rather than different aspects of the
 11    product,” which demonstrates that Nomadix “interpret[s] all of
 12    these claims to literally cover the same exact feature.”          (Id. at
 13    24-25.)
 14           Blueprint also argues that “even if the claims were to be
 15    deemed to vary sufficiently to avoid statutory double patenting,
 16    they are certainly obvious variations of each other and Nomadix
 17    failed to enter all of the terminal disclaimers for the ‘266, ‘269,
 18    and ‘806 patents required to avoid invalidity for obvious-type
 19    double patenting.”    (Id. at 25.)    Blueprint states that “prejudice
 20    has attached” so it is too late for Nomadix to provide the missing
 21    terminal disclaimers.    (Id.)
 22           Nomadix responds that the four challenged patents “belong to
 23    the same priority family” and “have always been set to expire on
 24    the same day: December 8, 2019,” thus, “[t]he four patents
 25    therefore do not extend Nomadix’s monopoly period.”         (Opp’n 112 at
 26    24.)   Nomadix states that terminal disclaimers were filed with the
 27    U.S. PTO for these patents.      (Id.)     Further, Nomadix argues that
 28    Blueprint failed to carry its burden to show by clear and

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 28 of 37 Page ID #:4905



   1   convincing evidence that “thirty-six claims from four patents are
   2   invalid for same-invention double patenting” because no reference
   3   patent is established, only attorney argument in an attached
   4   exhibit table is provided as evidence, the exhibit does not include
   5   all the claim language from the claims at issue, Blueprint itself
   6   acknowledges that the claims use different terms, and there is no
   7   allegation (or evidence) that all the limitations of one claim
   8   appear in another as is needed to show statutory double patenting.
   9   (Id. at 25-26.)
 10         Nomadix also states that there is no argument, much less any
 11    proof, for obviousness-type double patenting beyond a sentence that
 12    the claims are invalid for rendering a later claim obvious.           (Id.
 13    at 26.)   Further, Nomadix claims that its terminal disclaimers
 14    preclude this defense.     (Id. at 27-29.)    It cites Federal Circuit
 15    case law stating that a patentee can file a disclaimer even during
 16    litigation.   (Id. at 28 (citing Boehringer Ingelheim Int’l GMBH v.
 17    Barr Labs., Inc., 592 F.3d 1340, 1347-50 (Fed. Cir. 2010) (“[A]
 18    patentee may file a disclaimer after issuance of the challenged
 19    patent or during litigation, even after a finding that the
 20    challenged patent is invalid for obviousness-type double
 21    patenting.”).)
 22         The double patenting doctrine is meant to prevent a patentee
 23    from extending the life of a patent through additional patents on
 24    the same invention or through an obvious modification of the
 25    original patent.    See Sun Pharm. Indus., Ltd. v. Eli Lilly & Co.,
 26    611 F.3d 1381, 1384-85 (Fed. Cir. 2010).        “The proscription against
 27    double patenting takes two forms: (1) statutory double patenting,
 28    which stems from 35 U.S.C. § 101 and prohibits a later patent from

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 29 of 37 Page ID #:4906



   1   covering the same invention, i.e., identical subject matter, as an
   2   earlier patent, and (2) obviousness-type double patenting, which is
   3   a judicially created doctrine that prevents a later patent from
   4   covering a slight variation of an earlier patented invention.”           Id.
   5   at 1384.
   6        Statutory double patenting requires the two (or more) patents
   7   to be “identical in scope.”     In re Goodman, 11 F.3d 1046, 1052
   8   (Fed. Cir. 1993).    “Non-statutory, or ‘obviousness-type,’ double
   9   patenting is a judicially created doctrine adopted to prevent
 10    claims in separate applications or patents that do not recite the
 11    ‘same’ invention, but nonetheless claim inventions so alike that
 12    granting both exclusive rights would effectively extend the life of
 13    patent protection.”    Perricone v. Medicis Pharm. Corp., 432 F.3d
 14    1368, 1373 (Fed. Cir. 2005).
 15         For this Court to invalidate four patents for double patenting
 16    under either a statutory or non-statutory theory, Blueprint needs
 17    to produce clear and convincing evidence to support its argument.
 18    See Symbol Techs., Inc. v. Opticon, Inc., 935 F.2d 1569, 1580 (Fed.
 19    Cir. 1991).   Clear and convincing evidence “places in the fact
 20    finder ‘an abiding conviction that the truth of [the] factual
 21    contentions are highly probable.’”       Procter & Gamble Co. v. Teva
 22    Pharms. USA, Inc., 566 F.3d 989, 994 (Fed. Cir. 2009) (quoting
 23    Colorado v. New Mexico, 467 U.S. 310, 316 (1984)).         Here, the Court
 24    is not confident that such a showing has been made.
 25         First, Exhibit 16 is the crux of Blueprint’s argument that the
 26    claims are identical in scope or one patent renders the later ones
 27    obvious.   However, Blueprint’s brief fails to apply and explain
 28    Exhibit 16 in its legal analysis section.        The evidentiary burden

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 30 of 37 Page ID #:4907



   1   is on Blueprint as the party alleging invalidity.         A double
   2   patenting challenge requires a “claim-by-claim” evaluation.           See
   3   Ortho Pharm. Corp. v. Smith, 959 F.2d 936, 942 (Fed. Cir. 1992).
   4   While Exhibit 16 purports to do this by putting into a chart most
   5   of the claim language of the claims Blueprint alleges to be double
   6   patenting with the other one to three patents, in its brief,
   7   Blueprint only discusses two particular issues.
   8           Blueprint says that “almost all of the claim elements are
   9   recited in each patent, and all of the claim elements are recited
 10    in at least two patents, with Nomadix merely changing the labels or
 11    switching between method claims and functionally defined apparatus
 12    claims.”    (Def. MSJ for 112 at 24.)     The Court will not piece
 13    through the evidence for a moving party at summary judgment.
 14    Rather, Blueprint needs to either show that the scope of the
 15    inventions are identical or are so alike that the later patents
 16    extend the life of the earlier patent.       Blueprint has failed to do
 17    this.
 18            Blueprint’s argument that Nomadix’s use of the terms
 19    “redirection server” in the ‘246 patent, “redirected destination
 20    HTTP server” in the ‘266 patent, and “redirection data generation
 21    module” in the ‘269 patent is either just changing labels or
 22    switching between different kind of claims is just that, an
 23    assertion that this is the case, rather than an explanation of how
 24    and why that is the case.     (See id.)    The same holds true for
 25    Blueprint’s other points regarding different claim language meaning
 26    the same thing or having the same scope.        The scope of the claims’
 27    language has not been determined or alleged in this part of the
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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 31 of 37 Page ID #:4908



   1   brief, thus, the Court has no grounds for finding double patenting
   2   at this stage of the case.
   3        Lastly, Blueprint’s point about the terminal disclaimers seems
   4   to be contrary to the evidence, and there is no prejudice according
   5   to the Federal Circuit’s case law allowing terminal disclosures to
   6   be filed even during litigation.      See Boehringer, 592 F.3d at 1347;
   7   Lezama Opp’n Decl. Ex. 1 (providing Nomadix’s terminal disclosures
   8   for the ‘866 patent, ‘246 patent, ‘266 patent, ‘269 patent, and
   9   ‘806 patent).
 10         Nomadix raises triable issues of fact regarding double
 11    patenting, and Blueprint has failed to develop a record and a
 12    claim-by-claim analysis that would allow this Court to rule as a
 13    matter of law.   Therefore, based on this lack of a record and
 14    without detailed, claim-by-claim analysis, this Court cannot find
 15    for Blueprint on its double patenting summary judgment motion.
 16         C.    Motion for Summary Judgment on Patent Invalidity under 35
                  U.S.C. §§ 102 and 103
 17
 18         Blueprint has another motion for partial summary judgment on
 19    patent invalidity, arguing that claims 6 and 7 of the ‘246 patent
 20    are invalid under 35 U.S.C. §§ 102 and 103.        (See Def. Mot. Summ.
 21    J. of Patent Invalidity under 35 [U.S.C.] §§ 102 and 103 (“MSJ for
 22    102/103”), dkt. no. 88 at 1.)      Blueprint is arguing that the claims
 23    are both anticipated and obvious based on the prior art.          (Id. at
 24    17-20.)   The crux of the argument is that, based on Nomadix’s
 25    alleged “broad” view of the ‘246 claims, at least two prior art
 26    disclosures anticipate and/or render obvious the ‘246 patent’s
 27    claims: the Connect Group gateway device and the Slemmer patent
 28    (which, when combined with other “secondary references” at the very

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 32 of 37 Page ID #:4909



   1   least renders the patent obvious).       (Id. at 24-25.)    Blueprint also
   2   argues that if the Court adopts a “narrow” view of the claims, then
   3   the claims are invalid for anticipation based on ATCOM white papers
   4   and an IPORT gateway device.      (Id. at 25.)
   5        Nomadix responds both on the merits of the argument and on a
   6   procedural issue.    For the latter, Nomadix states that “Blueprint
   7   relies on conclusory attorney argument without any meaningful
   8   supporting expert opinions and falls markedly short of carrying its
   9   burden.   Ultimately, Blueprint leaves the Court to wade through the
 10    600+ page record in search of a viable invalidity theory.”          (Pl.
 11    Opp’n to Def. MSJ for 102/103 (“Opp’n 102/103”) at 1.)          As to the
 12    merits, Nomadix contends that Blueprint’s brief comes down to
 13    relying on three prior art references: the Slemmer patent, the
 14    Connect Group device, and the IPORT device.        (Id. at 4.)    As
 15    Nomadix sees it, all three are related to Blueprint’s anticipation
 16    argument, and Slemmer is alleged to combine with other prior art
 17    references to render Nomadix’s patent obvious.         (Id. at 4-5.)
 18         On the merits, Nomadix primarily relies on the clear and
 19    convincing standard that Blueprint must meet to invalidate the
 20    patent.   Nomadix argues that the legal discussion in Blueprint’s
 21    motion does not explain the appropriate legal standard or the
 22    application of the alleged prior art combined with the ‘246
 23    patent’s claims at issue; thus, Blueprint cannot overcome the clear
 24    and convincing standard.     (See generally id.)     Further, Nomadix
 25    argues that the arguments that are set out fail because there are
 26    material fact disputes regarding: (1) what the Slemmer patent
 27    discloses and what the ‘246 patent’s claims cover; (2) the relevant
 28    date for the Connect Group device in terms of the device reading on

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 33 of 37 Page ID #:4910



   1   the ‘246 claims; and (3) whether the IPORT device satisfied the
   2   ‘246 claim limits at the relevant time.       (Id. at 19-28.)
   3        In reply, Blueprint alleges that it has a “smoking gun” in the
   4   case: “the Connect Group source code” and that this resolves
   5   disputes over the timeliness and scope of the invention disclosed
   6   by the device.   (Def. Reply ISO MSJ for 102/103 (“Reply 102/103”)
   7   at 1-2.)   Blueprint also makes several new arguments relating to
   8   obviousness not raised in its opening brief as well as proffer new
   9   evidentiary arguments.     (Id. at 19-30, exs. 1-8, Q-P.)       However, as
 10    discussed above with Blueprint’s § 112 arguments, arguments and
 11    evidence must be presented in moving papers to give the opposing
 12    party notice and opportunity to respond.
 13               1.    Legal Standards for 35 U.S.C. §§ 102 and 103
 14         A party seeking to invalidate a patent by showing it is
 15    anticipated or obvious must produce evidence to satisfy a clear and
 16    convincing standard of proof.      See Microsoft Corp. v. i4i Ltd.
 17    P’ship, 131 S. Ct. 2238, 2242 (2011).
 18         Section 102 of the Patent Act covers the novelty requirement
 19    for patentability; an argument that a patent fails to meet this
 20    requirement must show that the patent is anticipated by prior art.
 21    See 35 U.S.C. § 102; Finisar Corp. V. DirecTV Group, Inc., 523 F.3d
 22    1323, 1334 (Fed. Cir. 2008).      This is a question of fact, with the
 23    anticipation inquiry done “on a claim-by-claim basis” and “a single
 24    prior art reference must expressly or inherently disclose each
 25    claim limitation.”    Finisar, 523 F.3d at 1334.       “Anticipation
 26    requires the presence in a single prior art disclosure of all
 27    elements of a claimed invention arranged as in the claim.”          Connell
 28    v. Sears, Roebuck & Co., 722 F.2d 1542, 1548 (Fed. Cir. 1983).

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 34 of 37 Page ID #:4911



   1         Section 103 of the Patent Act requires a patented invention to
   2   not be obvious.    35 U.S.C. § 103.      The statute states:
   3         A patent for a claimed invention may not be obtained,
             notwithstanding that the claimed invention is not
   4         identically disclosed as set forth in section 102, if the
             differences between the claimed invention and the prior art
   5         are such that the claimed invention as a whole would have
             been obvious before the effective filing date of the
   6         claimed invention to a person having ordinary skill in the
             art to which the claimed invention pertains.
   7
   8   Id.   Thus, the scope of a court’s obviousness inquiry goes beyond
   9   examining a single prior art reference that is required to render a
 10    patent anticipated under section 102.       Instead, the whole of the
 11    prior art can be considered to determine if the patent is obvious,
 12    with prior art references being determined by section 102 (a), (b),
 13    (e), (f), and (g).    See OddzOn Prods., Inc. v. Just Toys, Inc., 122
 14    F.3d 1396, 1401-02 (Fed. Cir. 1997).
 15          Further, the Federal Circuit has found that “certain factual
 16    predicates are required before the legal conclusion of obviousness
 17    or nonobviousness can be reached,” namely, the district court must
 18    apply and make factual findings of the Graham factors from Graham
 19    v. John Deere Co., 383 U.S. 1, 17 (1966).        See Apple Computer, 234
 20    F.3d at 26.     The Graham factors are: “(1) the scope and content of
 21    the prior art; (2) the differences between the claimed invention
 22    and the prior art; (3) the level of ordinary skill in the art; and
 23    (4) objective evidence of non-obviousness, such as commercial
 24    success, long-felt but unsolved need, failure of others, copying,
 25    and unexpected results.”     Id. (citing Graham, 383 U.S. at 17).
 26               2.     Anticipation
 27          As discussed above, anticipation requires all limitations of
 28    the challenged patent and claims to be in a single prior art

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 35 of 37 Page ID #:4912



   1   reference.    This theory of invalidity requires a claim-by-claim
   2   analysis.    At no point does Blueprint’s moving brief in this motion
   3   make such an analysis.     Therefore, the Court cannot find that
   4   Blueprint has met its evidentiary burden at this point.
   5                3.   Obviousness
   6        First, Blueprint argues that there “is no material dispute
   7   about the level of skill in the art, which is not a significant
   8   factor in the legal arguments of either party.”         (MSJ for 102/103
   9   at 21.)   However, the level of ordinary skill in the art is one of
 10    the Graham factors, so even if undisputed, the moving party must
 11    make a factual showing of what the level is.        The current motion
 12    does not contain enough information for the Court to properly make
 13    an evaluation of this factor.
 14         Second, Blueprint’s prior art references are attached to the
 15    motion in the forty-six exhibits.        The references most important to
 16    Blueprint appear to be the Connect Group gateway device, the IPORT
 17    gateway, and the Slemmer patent, but Blueprint has attached
 18    voluminous other patents, non-patent publications, and explanations
 19    of the gateway devices in its exhibits to the motion and its reply.
 20    (See id. at 21-22.)    The Court requires analysis and factual
 21    support to establish the scope and content of the prior art because
 22    it is another Graham factor.      While the current motion may contain
 23    sufficient factual support for the scope and content of the prior
 24    art, the Court also requires some analysis that these references
 25    (a) are prior art under the statutory sections; (b) establish the
 26    relevant scope of the prior art; and (c) are prior art to the
 27    specific claims and patent at issue in this case.
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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 36 of 37 Page ID #:4913



   1        Third, Blueprint’s brief has a section for a comparison of the
   2   claimed invention to the prior art, as is needed for this Court to
   3   make a proper Graham analysis of obviousness.        (Id. at 23.)
   4   However, the moving brief fails to undertake the comparison.
   5   Instead, Blueprint states that “[o]nce the content of the prior art
   6   has been established, the invalidity analysis follows directly.”
   7   (Id.)     This may be true; however, at this juncture, the Court
   8   cannot tell.    The Court is not a technical expert, nor can the
   9   Court wade through all the exhibits for the party offering them.
 10    Without understanding what all the claims in the ‘246 patent cover,
 11    and without understanding exactly what the prior art references
 12    cover, a comparison between the two is impossible.         Simply pointing
 13    to early discovery responses that are perhaps “evasive” is not
 14    enough at this point to support a comparison between the prior art
 15    and the claims at issue here. (See id.)       What the Court needs is
 16    clear and convincing evidence fully explained in the briefing, with
 17    the opposing party having the same opportunity to argue based on
 18    the proffered evidence and argument.
 19         Further, the exhibits pointed to in the moving papers are more
 20    appropriately explained and included in the moving brief’s
 21    arguments.    (See Exs. 42 (claim construction table); Exs. 43-45
 22    (table comparing prior art references to ‘246 patent).)          These
 23    exhibits are attorney arguments that can be laid out in a visual
 24    form to help aid the Court’s understanding, but attorney arguments
 25    they are nonetheless.    The arguments are not explained in the
 26    moving papers, much less in the exhibits themselves.         (See id. at
 27    24-25.)    The exhibits place unexplained text from the patents and
 28    other sources side by side.     It is not this Court’s job to comb

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Case 2:14-cv-08256-DDP-E Document 142 Filed 01/27/16 Page 37 of 37 Page ID #:4914



   1   through prior art references, technical language, or voluminous
   2   exhibits and vague arguments in order to tell if a moving party has
   3   met their burden, and so this Court is unable to do so at this
   4   point.   Therefore, the Court holds it cannot determine that the
   5   patent is invalid for obviousness based on the current record.
   6   IV.   CONCLUSION
   7         For the reasons stated above, the Court:
   8         GRANTS Nomadix’s Motion for Summary Judgment on Infringement
   9   of the ‘246 Patent;
 10          DENIES Blueprint’s Cross-Motion for Summary Judgment of
 11    Noninfringement of the ‘246 Patent;
 12          DENIES Blueprint’s Motion for Summary Judgment under 35 U.S.C.
 13    § 112 and Double Patenting; and
 14          DENIES Blueprint’s Motion for Summary Judgment under 35 U.S.C.
 15    §§ 102 and 103.
 16
 17    IT IS SO ORDERED.
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 20    Dated: January 27, 2016
                                                   DEAN D. PREGERSON
 21                                                United States District Judge
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